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AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Columbia

                 United States ofAmerica                            )
                            v.                                      )
                                                                    )      Case No.
             ROBERT WAYNE DENNIS
                                                                    )
                 DOB:XXXXXX                                         )
                                                                    )
                                                                    )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    January 6, 2021              in the county of __________ in the
                         in the District of       Columbia      , the defendant(s) violated:
             Code Section                                                    Offense Description
       18 U.S.C. § 11l(a)(l)-Assaulting, Resisting, or Impeding Certain Officers;
       18 U.S.C. § 23l(a)(3)- Civil Disorder;
       18 U.S.C. § 1752(a)(l)- Entering and Remaining in a Restricted Building or Grounds;
       18 U.S.C. § l752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
       18 U.S.C. § 1752(a)(4)- Engaging in Physical Violence in a Restricted Building or Grounds;
       40 U.S.C. § 5104(e)(2)(F)-Act of Physical Violence in the Capitol Grounds or Buildings.

          This criminal complaint is based on these facts:
   See attached statement of facts.




          11 Continued on the attached sheet.




                                                                                       Trent Dooley, Special Agent
                                                                                               Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.                                                                                               Zia M. Faruqui
                                                                                                            2021.10.14 21:32:15
Date: October 14, 2021                                                                                      -04'00'
                                                                                                 Judge 's signature

City and state:                         Washington, D.C.                              Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
